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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                           )
                                           )
                                           )
                                           )
                                           )
            Plaintiff,                     )
  vs.                                      )
                                           )          Judge J. Nicholas Ranjan
                                           )
                                           )
                                           )
                                           )
             Defendants.                   )
                                           )
                 Fed. R. Civ. P. 26(f) REPORT OF THE PARTIES
1. Subjects of Fact Discovery:




2. Subjects of Expert Discovery:




3. Can fact and expert discovery occur at the same time? Why/why not?




4. Pre-trial Deadlines:
      a. Date for Initial Disclosures:
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        b. Date for joinder/amendment:
        c. Date for close of fact discovery:
        d. Date for close of expert discovery, if bifurcated:
  5. Do the parties want a Rule 502 non-waiver order – Yes or No?
      No

  6. Are there any ESI issues to address? If yes, please explain:




  7. Protective Order – Yes or No? If yes, please explain:




                                                                    Respectfully submitted,


____________________________                                 __________________________
